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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                            *      CRIMINAL NO. 20.52

                 v.                                   *      SECTION:       "T"
  RICHARD YUAN         LI                             *

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                                          FACTUAL BASIS

        The defendant, RICHARD YUAN           LI     (hereinafter, the "defendant" or   "LI"),   has agreed to


plead guilty to Count One of the Superseding Indictment now pending against him, charging him

with conspiracy to commit wire fraud, in violation of Title     18,   United States Code, Sections 1349 and

1343. Should   this matter proceed to trial, both the Government and the defendant, RICHARD

YUAN LI, do hereby stipulate and agree that the following facts           set forth a sufficient factual basis


for the crime to which the defendant is pleading guilty. The Government and the defendant further

stipulate that the Government would have proven, through the introduction of competent testimony

and admissible, tangible exhibits, the following facts, beyond a reasonable doubt, to support the

allegations in the Superseding   Bill of Information now pending against the defendant:

 Definitions

        The Government would establish, through the testimony of Federal Bureauof Investigation

(FBI) Special Agent Clinton Mclean, that a "SIM Swap Scam" was a type of cellular phone account

takeover fraud that targeted accounts, allowing a text message or phone call                 to be used for

authentication to obtain access to the account. One way         a SIM Swap occurs is by a perpetrator


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contactinga victim's wireless cellphone carrier, purportingto be the victim, and informingthe call

center employee he has a new cellphone. The call center employee then switches the subscriber

identification module ("SIM card") linked to a victim's phone number to one in the possession               of   a

perpetrator. Thereafter, all incoming calls and text messages         will be routed to the phone with the

new SIM card. Another way to affect a SIM Swap scam is to bribe or conspire with an employee                 of
a cellular phone company, sometimes called a "plug," to switch the SIM card linkedto a victim's

phone number to one in the possession of a perpetrator. Once a perpetrator is able to swap the SIM

card, he can then pose as the   victim with   an online account provider, including email account   providers

and banks, and request that online account providers send account reset links or an authentication

code to the SlM-swapped device controlled by the perpetrator or his co- conspirators. One or more

members of the conspiracy can then reset the victim's account log-in credentials (e.g., username and

password), even if the victim has tried to secure the account by requiring that an authentication code

by sent ("two-factor authentication"). Perpetrators can then use the new log-in credentials to access

a victim's online accounts without authorization and gain control of the contents of the accounts,

including email accounts, bank accounts, and cryptocurrency accounts.

        The Government would further establish, through the testimony of Special Agent Mclean,

that "cryptocurrency" is a type of currency that uses digital files as money. Usually, the files are

created using the same methods as cryptography (the science               of hiding information). Digital
signatures can be used to keep the transactions secure, and let other people check that the transactions

are real. Cryptocurrencies use decentralized control as opposed to centralized        digital currency and

central banking systems. The decentralized control              of   each cryptocurency works through

distributed ledger technology, typically a blockchain that serves as a public financial transaction
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database enforced   by a disparate network of computers. Cryptocurrencies allow for the             secure

payments online which are denominated in terms of virtual "tokens," which are represented by ledger

entries internal   to the system.    Thousands    of   distinct types   of   cryptocurrencies exist. A

cryptocurrency "wallet" stores the public and private "keys," or "addresses," which can be used to

receive or spend the cryptocurrency. With the private key, it is possible to write in the public ledger,

effectively spending the associated cryptocurrency. With the public key, it is possible for others to

send currency to the wallet. Consequently, whomever has the key controls, and can spend, move,

and divert, the corresponding cryptocurrency.

 Background

       The Government would establish, through the introduction of documentary evidence and

testimony of Victim A, that Victim A was a resident of New Orleans, Louisian4 within the Eastem

District of Louisiana. Victim A was a physician who operated a medical practice      in New Orleans.
Victim A subscribed to cellular phone service provided by Phone Company A with cellularphone

number (504)352-XXXX. Victim A used multiple email accounts hosted by Google and America

Online ("AOL"), including xxxxxxx@gmail.com and xxxxxx@aol.com (collectively, "Victim A's

email accounts"). Victim    A held and owned multiple       cryptocurrency accounts, including with

Binance, Bittrex, Coinbase, Gemini, Poloniex, ItBit, and Neo Wallet.

       The Government would establish, through the introduction of documentary evidence and

testimony of Victim B, that Victim B was a resident of the State of Arizona. Victim B subscribed to

cellular phone service provided by Phone Company         A with cellular     phone number (480) 466-

XXXX. Victim B used email accounts hosted by Google and Apple, Inc. ("Apple"), including

xxxxxxx@gmail.com and xxxxxx@me.com (collectively, "Victim                B's email accounts"). The
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Google and Apple service providers' computers associated with Victim B's email accounts

constituted protected computers, as that term is defined in Title 18, United States Code, Section

1030(e)(2). Victim B held and owned multiple cryptocurrency accounts, includingwithNeo Wallet.

 SIM Swap Scam

       The Government would establish, through the testimony of Special Agent Mclean and

documentary evidence, that       LI   participated   in an extensive SIM Swap      scam   in 2018. The
Government would establish, through the introduction of documentary evidence, that B.P. was a

high school classmate and friend   ofLI. Beginning on or about January   3,2018, B.P. and   LI   discussed

ways they could get two Apple iPhones for the price of one by defrauding Apple, Inc. ("Apple"). In

particular, LI told B.P., "Can we try something where we get both a refund and replacement and you

give me a replacement so you get 2 phones AND your money back[?]"         LI   offered B.P. fifty dollars

to participate in the scheme. B.P. agreed.

       The Govemment would establish, through documentary evidence from Phone Company A

and Apple, acting at the direction of    LI   and known and unknown co-conspirators of       LI'S,   B.P.

purchased an Apple iPhone 8 on or about January 3,2018. On or about January 5,2078,                    LI
coordinated with his co-conspirators to contact Apple customer service via telephone. While

impersonating B.P.,   LI's   co-conspirator, with LI's coordination, falsely stated that B.P. had not

received the Apple iPhone 8 and requested a replacement iPhone. In fact, B.P. had already received

an Apple iPhone   8. Thereafter, on or about January 7,2018, Apple sent a second Apple iPhone             8

bearing International Mobile Equipment Identity number 356703087816582 ("the Apple iPhone




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 8") to B.P. Once B.P. received the AppleiPhone 8, he gave it to LL On or about January 23,2018,

 LI registered the Apple   iPhone 8 usinghis email address, ryliXXXX@me.com.

       The Government would establish, through the testimony of Special Agent Mclean and

documentary evidence, including information obtained during reviews of               LI'S electronic     devices

and online accounts seized during the execution                of   search warrants, that   LI   participated in

unauthorized SIM Swaps with his co-conspirators that targeted at least forty (a0) phone numbers

that were assigned to people other than   LI   or his co-conspirators between on or about July 19, 2018,

and December 6,2018, including     Victim A and Victim B, for the purpose of obtaining money and

property for the account holders without their knowledge or authorization.

 Victim A

       The Government would further establish, through documentary evidence and eyewitness

testimony, that on or about November 10,2018,             LI   communicated online with other known and

unknown individuals about targeting Victim A for SIM swapping and cryptocurrency theft. Shortly

thereafter, one or more members of the conspiracy swapped Victim A's telephone number to a SIM

card contained in the Apple iPhone 8, which was then possessed and controlled by                  LI in the San
Diego, California area.The SIM Swap of Victim A caused, among other things, the transmission of

a series of writings, signs, signals, and sounds that traveled in interstate commerce, including

between the States of Florida, Louisiana, and California.

       The Government would further establish, through documentary evidence and eyewitness

testimony, that on or about November 10, 2018, one or more members of the conspiracy caused

password reset information and codes for Victim            A's Google email account to be sent via text

message   to the phone controlled by LI. One or more members of the conspiracy then                   accessed,
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without authorization, Victim A's email accounts. One or more members of the conspiracy also

attempted to gain access to Victim B's Binance, Bittrex, Coinbase, Gemini, Poloniex,ItBit, and Neo

Wallet crypto currency accounts without Victim A's knowledge or authorization.

          The Government would further establish, through the introduction of documentary evidence,

audio recordings, and the testimony of eyewitness individuals, that on or about the evening         of

November 10, 2018, Victim A regained service to Victim A's cellular phone. Shortly after Victim

A   regained service, one or more members of the conspiracy contacted Victim A via telephone. The

caller told Victim A that he had viewed pictures stored in Victim A's Gmail account. The caller also

identified the cryptocurrency accounts Victim A held along with the approximate account balances

of each account. The caller told Victim A to pay him 100 Bitcoin to preventthe pictures from being

releasedandthecontentsofVictimA'scryptocurrencyaccountsfrombeingtaken. VictimArefused.

          The Government would further establish, through the introduction of documentary evidence

and eyewitness testimony, that once Victim A learned of the SIM Swap, Victim A successfully froze

several   of Victim A's cryptocurrency accounts before one or more members of the conspiracy

depleted them completely. Before Victim     A was able to freeze all of Victim A's cryptocurency

accounts, however, the members of the conspiracy stole cryptocurrency belonging to Victim A

stole cryptocurrency belonging to Victim A by transferring it to a location controlled by one or

more of the co-conspirators and then shared in the proceeds. The Government would further

establish that, among the cryptocurrency lost by Victim A as a result of the scheme described

above was approximately 4.3 Bitcoin, which held a value at the time            of the intrusion of
approximately $27,343.70. One or more members          of the conspiracy also used approximately

$87,822 stored in another cryptocurrency account belonging      to Victim A to    purchase Bitcoin,
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which they were unable to transfer out of Victim A's account. This series of transactions resulted

in an additional loss to Victim A of at least $29,773.80. In total, Victim A suffered       an actual loss

of at least $57,117.50, which was   a   portion of the value of Victim A's entire cryptocurrency holdings

at the time of the intrusion.

        The Government would further establish, through the introduction of documentary and

testimonial evidence, that on or about June 14, 2019, law enforcement authorities executed                 a


lawfully issued search warrant at LI'S residence in Argo Hall. Among the items seized was                 an

Apple MacBook Pro that belonged to           LI, which included    the text messages, among others, that

connected   LI to the SIM Swap scam that victimized and defrauded Victim A. Messages LI
exchanged with his co-conspirators between on or about November 10, 2018, and on or about

February 24, 2019, further establish that        LI   was actively involved in the conspiracy to defraud

Victim A in the manner described above, was aware of Victim A's identity, profession, and location,

and shared in the proceeds of the scheme to defraud Victim        A(i.e., received a portion of Victim A's

stolen cryptocurrency). Other messages      LI   exchanged with his co-conspirators also reflected that   LI
was aware that his conduct was both illegal and traceable to him by law enforcement authorities.


 Victim B

       The Government would further introduce documentary evidence and witness testimony that

LI   participated in the unauthorized SIM Swap of Victim B. Specifically, on or about December 4,

2018, Victim B's telephone number was swapped to a SIM card contained in the Apple iPhone 8,

which was then in    LI'S control. The SIM swap          was coordinated and facilitated by one or more

members of the conspiracy through one or more of the means described above. Thereafter, on or

about December 4,2018, one or more members of the conspiracy caused password reset information
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and codes for     Victim B's Apple email account to be sent via text message to the phone controlled

by   LI.   One or more members of the conspiracy then accessed, without authorization, Victim B's

personal email accounts. Thereafter, one or more members of the conspiracy also stole approximately

505 Neo Coins belonging          to Victim A, which held a value at the time of the intrusion of

approximately $4,000.     LI   and the Apple iPhone 8 were in the San Diego, Califomia areaatthe time

of the Swap of Victim B. Messages        LI   exchanged with his co-conspirators on or about February 24,

2019, including a screen capture from the Apple iPhone 8, that          LI   sent to one of his co-conspirators,

further establish that   LI   was actively involved in the conspiracy to defraud Victim B in the manner

described above.

       The Government would further establish through the introduction of documentary evidence

and eyewitness testimony that, on or about March 5,2019,           LI   sold the Apple iPhone 8 to a friend,

E.W.

           The above facts would be proven at trial by credible testimony from investigators with the

Federal Bureau      of Investigation, forensic examiners from the FBI, Victim A, Victim B, other

witnesses, documents, and electronic devices           in the   possession    of the FBI, and the voluntary
statements of the defendant,     RICHARD YUAN LI.




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 Limited Nature of Factual Basis

       This proffer of evidence is not intended to constitute a complete statement of all facts known

by DEFENDANT and the Govemment. Rather, it is a minimum statement of facts intended to

prove the necessary factual predicate for his guilty plea. The limited pu{pose of this proffer is to

demonstrate there exists a sufficient legal basis for the plea of guilty to the charged offense by

DEFENDANT.

APPROVED AND ACCEPTED:


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Attorney for


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